     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                     )
                                              )
               vs.                            )      Criminal No. 19-134
                                              )
JERMAINE KYLE CLARK,                          )
                                              )
               Defendant.                     )

                                        OPINION

       I.      Introduction

       Pending before the court is a motion to compel discovery (ECF Nos. 107, 108)1,

with brief in support filed by counsel for defendant Jermaine Kyle Clark (“Clark”). The

government filed a response in opposition to the motion, Clark filed a reply, and the

government filed a surreply (ECF Nos. 119, 120, 121). The motion is ripe for disposition.



       II.     Factual and Procedural Background

       Clark, along with codefendant Terry Suggs, Jr. (“Suggs”), is charged in count 1 of

the indictment at Criminal Number 19-134 with conspiracy to possess with intent to

distribute and distribute 5 kilograms or more of cocaine and 500 grams or more of

methamphetamine from February 24- 25, 2019, in violation of 21 U.S.C. § 846. In count

2 of the indictment, Clark is charged with possession of 5 kilograms or more of cocaine

and 500 grams or more of methamphetamine on February 25, 2019. The prosecution

started in state court, but the federal government adopted the case.

       Clark contends that the police investigation of his conduct began on August 7, 2018,



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  The unredacted version at ECF No. 108 is filed under seal. The court determined that
this opinion need not be sealed.


                                             1
        Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 2 of 11




when a state trooper performed a traffic stop on a car registered to Clark that was traveling

on the Pennsylvania turnpike. Clark was not in the car. The occupants allegedly consented

to a search of the vehicle. In the ensuing search, officers recovered almost $350,000 in

cash from a hidden compartment. The occupants denied knowledge of the money and were

released. Clark contends that he was subjected to unconstitutional surveillance since that

date.    On October 31, 2018, Clark was stopped by a trooper while driving on the

Pennsylvania turnpike. Clark consented to a pat-down search. A drug dog sniffed the car

and Clark was permitted to leave. Clark contends that when agents applied for a PING

warrant and search warrants for two cars in February 2019, they deliberately omitted

reference to the earlier investigation because those encounters utilized unconstitutional

surveillance.

         Clark also contends that the legality of the government’s search is dependent on the

credibility of a confidential informant (“CI”) and Atlas, a drug-sniffing dog. In October

2018, as set forth in the affidavit for probable cause to obtain a PING warrant, the CI

informed agents that Clark had been selling him a kilogram of cocaine weekly or biweekly

for the last 18-24 months. (ECF No. 108-1).

         On February 21, 2019, detectives prepared a “Memo of Request” to intercept oral

communications between Clark and the CI. In its surreply brief, the government agreed to

produce a version of the “Memo of Request” to defense counsel, with redactions to protect

the identity of the CI (ECF No. 121). This aspect of the motion to compel is, therefore,

moot.

         On or before February 21, 2019, agents were present with the CI and listened to a




                                              2
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 3 of 11




conversation with Clark which they interpreted2 as setting up a drug deal for February 24-

25, 2019. Based on that information, agents obtained the PING warrant and began tracking

the location of Clark’s cell phone. The data showed that the phone was in the Pittsburgh,

Pennsylvania area on February 24-25, 2019.

        The CI met with Clark on February 25, 2019, and later that day placed 3 recorded

calls to him, allegedly to arrange delivery of the drugs. When Clark arrived, Suggs got

into Clark’s car. Both men were arrested and Clark’s and Suggs’ cars were towed to the

Swissvale police station. Clark notes in his motion that at the preliminary hearing in state

court, a detective testified that Clark’s warrantless arrest was based on the reliability of the

CI. (ECF No 108 ¶ 23). Defense counsel believes that he knows the identity of the CI and,

based upon an independent investigation, believes that the CI is not reliable.

        Later on February 25, 2019, a K9 officer and drug dog Atlas performed an exterior

sniff of Clark’s and Suggs’ cars at the Swissvale police station. Atlas alerted on both cars.

Agents relied on the dog sniff in the affidavit of probable cause to obtain search warrants.

In the ensuing search, drugs were recovered from hidden compartments in both vehicles.

        In the motion to compel, Clark contends that the search warrant is based on Atlas.

In its response, the government agreed to provide a report about Atlas’ training and

reliability. (ECF No. 119). This aspect of the motion to compel is, therefore, moot.



        III.    Legal Analysis

        Clark’s pending motion does not directly allege government misconduct or seek to




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  Clark maintains this interpretation was unreasonable because there was no obvious
reference to drugs.


                                               3
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 4 of 11




suppress evidence. Instead, the motion seeks discovery to obtain information that Clark

hopes will support a potential motion to suppress evidence. Specifically, Clark intends to

argue that the government engaged in illegal surveillance in August and October 2018,

such that the events of February 2019 are fruit of the poisonous tree, and that agents made

material false statements in the PING and search warrant affidavits, which entitle him to a

hearing under Franks v. Delaware, 438 U.S. 154 (1978) (a “Franks hearing”). Clark did

not submit a proposed order. Clark’s motion refers to five categories of information: (1)

other warrants secured during the investigation; (2) the February 21, 2019 “memo of

request”; (3) information about the reliability of the CI or other confidential sources; (4)

information about the reliability of Atlas; and (5) unredacted versions of discovery

provided by the government. In the motion, defendant also seeks discovery about whether

the government illegally surveilled him, which the government interprets as a different way

to obtain the “memo of request.” Clark’s request was phrased somewhat more broadly in

the reply brief (ECF No. 120 at 1) (seeking disclosure of evidence the government

surveilled him illegally and used the fruits of that surveillance to obtain warrants). Clark

maintains this category is not limited to the “memo of request,” but he did not identify

other documents.

       The government initially balked at providing the requested information.3 As noted

above, the government agreed to provide some additional information. The government’s

current position on each category is: (1) no other warrants exist; (2) a redacted version of

the “memo of request” was provided; (3) the CI’s identity is not discoverable, although the



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 Clark did not request information about improper conduct in “other investigations”
before filing the motion (ECF No. 119 at 8, ECF No. 120 at 17 n.8). The government is
unclear what is being requested.


                                             4
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 5 of 11




government acknowledges its obligation to disclose Brady material in time for effective

use in a suppression motion; (4) additional materials about Atlas were provided; and (5)

the government maintains that redactions to protect the identity of the CI remain

appropriate. The government contends that the remainder of the motion to compel should

be denied. The remaining issues involve the identity of the CI.



   a. Discovery in a criminal case

   Discovery in a criminal case is far different from that in a civil case. The government's

obligation to make available pretrial discovery materials is governed primarily by Rule 16

of the Federal Rules of Criminal Procedure. Beyond Rule 16, the Jencks Act, 18 U.S.C. §

3500, and Brady v. Maryland, 373 U.S. 83 (1963) (“Brady”), and its progeny, a defendant

has no general constitutional right to pretrial discovery. Weatherford v. Bursey, 429 U.S.

545, 559 (1977). Those rights conferred by rule, statute, and case law cannot be used to

compel the United States to disclose the minutia of its evidence, trial strategy, or

investigation. United States v. Fiorvanti, 412 F.2d 407, 411 (3d Cir. 1969). The Court of

Appeals for the Third Circuit has recognized that discovery in criminal cases is limited to

those areas listed in Federal Rule of Criminal Procedure 16, “with some additional material

being discoverable in accordance with statutory pronouncements and the due process

clause of the Constitution.” United States v. Ramos, 27 F.3d 65, 68 (3d Cir. 1994).

Generally, these other areas are limited to the Jencks Act and materials available pursuant

to the Brady doctrine. Id. The court appreciates defendants' frustration with these discovery

limitations.

   In the Jencks Act, Congress enacted limitations on discovery of reports made by




                                             5
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 6 of 11




potential government witnesses. The statute provides: “In any criminal prosecution

brought by the United States, no statement or report in the possession of the United States

which was made by a Government witness or prospective Government witness (other than

the defendant) shall be the subject of subpoena, discovery, or inspection until said witness

has testified on direct examination in the trial of the case.” 18 U.S.C. § 3500(a); see Fed.

R. Crim. P. 26.2(a) (court may order government to produce a witness statement after the

witness has testified on direct examination). The government typically acknowledges that

strict adherence to the Jencks Act could cause delays at trial and therefore agrees to produce

Jencks Act material before trial in order not to cause delays. United States v. Coleman,

No. CRIM. 13-274, 2014 WL 2041545, at *2 (W.D. Pa. May 12, 2014).

   The Brady doctrine generally is understood as imposing a duty of minimum fairness

on prosecutors grounded on a defendant’s due process right to a fair trial. United States v.

Higgs, 713 F.2d 39, 42 (3d Cir. 1983). Under Brady, the government has a continuing

obligation to turn over evidence favorable to the defendant “where the evidence is material

either to guilt or punishment.” 373 U.S. at 87. In Giglio v. United States, 405 U.S. 150

(1972), the Supreme Court further required that the government disclose any impeachment

information that it possesses regarding its own witnesses, such as promises for leniency

made in return for testimony. Id. at 154-55. It is clear that at least shortly before trial,

Brady impeachment material must be disclosed “for its effective use at trial.” Higgs, 713

F.2d at 43-44; accord United State v. Nazario, 748 F. App'x 479, 481 (3d Cir. 2018) (no

Brady violation where government did not disclose statements of cooperating witnesses

until three days before trial).   Within the Third Circuit there is a long tradition of

encouraging early disclosure of Brady materials. See United States v. Starusko, 729 F.2d




                                              6
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 7 of 11




256, 264 (3d Cir. 1984) (citations omitted).

   Clark cites United States v. Barton, 995 F.2d 931, 935 (9th Cir. 1993), and Smith v.

Black, 904 F.2d 950, 965-66 (5th Cir. 1990), for the proposition that the Brady protections

relating to impeachment evidence apply to suppression hearings. There is a circuit split on

this issue. United States v. DeLeon, No. CR 15-4268 JB, 2017 WL 2271430, at *29

(D.N.M. Feb. 8, 2017) (concluding that the Supreme Court’s holding in United States v.

Ruiz, 536 U.S. 622, 632 (2002), that prosecutors have no duty to disclose impeachment

evidence in change of plea hearings, would be extended to suppression hearings). The

court need not resolve this issue. In this case, the government acknowledged its obligation

to disclose Brady impeachment material in time for effective use in a suppression motion.

More importantly, discussion of a suppression hearing is premature because Clark has not

yet filed a motion to suppress evidence. His deadline to do so is June 20, 2020. Instead,

the current motion seeks disclosure of the identity of the CI in advance of a potential

suppression motion.



   b. Discovery to disclose identity of government informant

   Clark tries to overcome the general prohibition on discovery by alleging government

misconduct that violated his due process or Fourth Amendment rights. In Roviaro v.

United States, 353 U.S. 53 (1957), the Supreme Court explained: “Where the disclosure of

an informer's identity, or of the contents of his communication, is relevant and helpful to

the defense of an accused, or is essential to a fair determination of a cause, the privilege




                                               7
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 8 of 11




must give way.”4 Id. at 60–61.

       The defendant bears the initial burden to demonstrate a specific need for the

disclosure of the informant’s identity. United States v. Jiles, 658 F.2d 194, 197 (3d Cir.

1981). A generalized hope that the CI’s identity will provide a basis for a Franks hearing

will not suffice. United States v. Stanton, 566 F. App'x 166, 168 (3d Cir. 2014) (“Because

Stanton hoped that the identity of the confidential informants would provide a basis for a

hearing under Franks and because the informants' roles pertained to probable cause, we

conclude that the District Court did not abuse its discretion in denying Stanton's motion.”)5;

accord United States v. Rivera, 524 F. App'x 821, 827 (3d Cir. 2013) (denying motion to

compel disclosure of confidential informant based on speculation that the informant might

admit that the controlled buys were not from the defendant).

       The court must “balance[e] the public interest in protecting the flow of information

against the individual’s right to prepare his defense.” Roviaro, 353 U.S. at 62. The court

should take into consideration “the crime charged, the possible defenses, the possible

significance of the informer’s testimony, and other relevant factors.” Jiles, 658 F.2d at 196-

97 (noting a spectrum of participation by a CI ranging from an active and crucial role, as

in Roviaro, to mere tipsters). The court summarized the factors that may require an

informant's identity to be released: (1) the possible testimony was highly relevant; (2) it

might have disclosed an entrapment; (3) it might have thrown doubt upon the defendant's



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  But see McCray v. State of Ilinois, 386 U.S. 300, 309 (1967) (“The Roviaro case
involved the informer's privilege, not at a preliminary hearing to determine probable
cause for an arrest or search, but at the trial itself where the issue was the fundamental
one of innocence or guilt.”).
5
  In Stanton, the court also explained that Stanton's guess about the identity of the
confidential informants does not constitute the “substantial showing” required to obtain a
Franks hearing. 566 F. App’x at 168.


                                              8
     Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 9 of 11




identity; and (4) the informer was the sole participant other than the accused, in the

transaction charged. Id. at 198-99.

        A defendant’s need to learn the identity of an informant is less compelling in a

pretrial suppression hearing than at trial. United States v. Noble, No. 1:17CR00005, 2018

WL 4501075, at *2 (W.D. Pa. Sept. 20, 2018). In United States v. Pitts, 655 F. App'x 78,

81 (3d Cir. 2016), the court explained: “When a confidential informant’s involvement in a

case merely goes to probable cause for a search” then “disclosure of his identity is not

required.” Accord Rivera, 524 F. App'x at 827 (because informants' roles were limited to

validating the search, district court did not abuse its discretion in denying motion to

compel); United States v. Bazzano, 712 F.2d 826, 839 (3d Cir. 1983) (en banc) (when the

informant’s role relates to probable cause for the search, disclosure is usually not required).

        Clark argues that it is essential to obtain the information to enable him to challenge

the credibility of the witnesses in a suppression hearing or Franks hearing. In a Franks

hearing, the CI’s credibility is not directly at issue. Instead, it is the credibility of the affiant

(i.e., the officer submitting the affidavit) that matters. As explained in Rivera,

        Even if the information provided by the informants was unreliable, Rivera
        has offered no evidence that the detective who provided the affidavit either
        knew that the information was not true or recklessly disregarded its falsity.
        See Brown, 3 F.3d at 677 (noting that “it [is] not enough to show simply
        that the informant may have lied”); United States v. Perdomo, 800 F.2d 916,
        921 (9th Cir. 1986) (affirming denial of a Franks hearing where proof
        offered reflected only on veracity of informant and not on veracity of
        affiant).

Rivera, 524 F. App'x at 826. The government indicated it was unlikely that the CI would

be called as a witness during a suppression hearing (ECF No. 119 at 17). The hypothetical

advanced in Clark’s reply brief (ECF No. 120 at 10-11) similarly involves a false statement

made by a testifying officer, not a CI.



                                                 9
    Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 10 of 11




       It is unclear how the August 2018 traffic stop relates to the disclosure of the CI’s

identity, because there is no indication that the CI was involved in that incident. The other

argument articulated in Clark’s motion is that the CI’s participation may have been

coerced. This contention is purely speculative. Clark points to no evidence of improper

coercion. As the government correctly points out, the fact that a government witness may

receive financial benefits or a reduced criminal liability in exchange for cooperation is not

inherently improper. United States v. Antoon, 933 F.2d 200, 205 (3d Cir. 1991) (reversing

district court’s finding that fear of prosecution rendered consent to cooperate involuntary).

       The court concludes that Clark did not make a sufficient showing to justify

disclosure of the CI’s identity.     Clark is charged with a drug conspiracy and drug

possession. The primary evidence against him will be the drugs seized from his vehicle on

February 25, 2019. The court recognizes that the suppression of that evidence is an

important defense for Clark. The CI’s role, as set forth in Clark’s motion, was in setting

up the drug transaction. The government represents that the CI will testify at trial.

Although the CI’s possible testimony will likely be highly relevant at trial, Clark did not

articulate why the CI’s testimony would be important at a suppression hearing or Franks

hearing. Clark has not alleged entrapment or doubts about his identity. The CI was not

the sole participant in the telephone calls to set up the transaction and many officers were

involved in the events of February 25, 2019.

       In sum, Clark failed to articulate a sufficient basis for disclosure of the CI’s identity

at this stage of the case. See Noble, 2018 WL 4501075, at *1 (denying similar motion to

disclose an informant’s identity on the theory that it would enable the defendant to

challenge the allegations in an affidavit of probable cause to be “willfully false” and lead




                                             10
    Case 2:19-cr-00134-JFC Document 123 Filed 06/05/20 Page 11 of 11




to a successful suppression motion); United States v. Mayhams, No. 3:16-CR-127, 2018

WL 6524394, at *7 (M.D. Pa. Dec. 12, 2018) (denying motion to compel discovery without

prejudice to the defendant’s ability to raise the issue if she did not timely receive Brady

and Jencks Act materials).



Conclusion

    After thorough review and consideration of the parties’ arguments and submissions,

Clark’s motion to compel (ECF No. 107, 108) will be denied. The court concludes that

there is no basis to order the government to produce the discovery requested by Clark at

this time. The government has represented that it is aware of, and will comply with, all

its obligations to produce discovery. This opinion and order is without prejudice to

Clark’s ability to assert his rights if the government fails to do so.

        An appropriate order follows.


Dated: June 5, 2020
                                                BY THE COURT:

                                                /s/ Joy Flowers Conti
                                                Joy Flowers Conti
                                                Senior United States District Judge




                                              11
